Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.271 Page 1 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.272 Page 2 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.273 Page 3 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.274 Page 4 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.275 Page 5 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.276 Page 6 of 7
Case 2:06-cr-00051-FVS   ECF No. 118   filed 06/18/07   PageID.277 Page 7 of 7
